         Case 1:17-cv-09554-AKH Document 394 Filed 02/06/21 Page 1 of 9




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

LOUISETTE GEISS, SARAH ANN THOMAS                       No. 1:17-cv-09554-AKH
(a/k/a SARAH ANN MASSE), MELISSA
THOMPSON, et al., individually and on behalf            Hon. Alvin K. Hellerstein
of all others similarly situated,

       Plaintiffs,

       v.

THE WEINSTEIN COMPANY HOLDINGS,
LLC, et al.,

       Defendants.



               PLAINTIFFS’ MOTION TO STAY CASE PENDING FILING
               OF THE BANKRUPTCY PLAN EFFECTIVE DATE NOTICE

       Plaintiffs Louisette Geiss, Sarah Ann Thomas (a/k/a Sarah Ann Masse), and Melissa

Thompson (“Plaintiffs”), by and through their attorneys, file this motion to stay this case pending

filing of the Effective Date Notice of the Fifth Amended Joint Chapter 11 Plan of Liquidation

(“Plan”) in In re: The Weinstein Company Holdings LLC, No. 18-10601 (MFW) (Bankr. D. Del.).


                                   I.      INTRODUCTION

       This Court has the discretion to control its docket by entering a stay, especially where a

stay would conserve judicial and party resources and not prejudice any party. Moses H. Cone

Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 20, n.23 (1983). On January 26, 2021, the

Honorable Mary Walrath entered an order confirming the Plan in The Weinstein Company

(“TWC”) bankruptcy proceeding. In re: The Weinstein Company Holdings LLC, No. 18-10601

(MFW) (Bankr. D. Del.). Dkt. #3203. Within 14 days, when the Debtors’ assets vest in the

Liquidation Trust, the Liquidation Trustee will file the Effective Date Notice. At that time.


                                               -1-
         Case 1:17-cv-09554-AKH Document 394 Filed 02/06/21 Page 2 of 9




Plaintiffs will voluntarily dismiss this litigation pursuant to Fed. R. Civ. P. 41 and file their claims

in the Sexual Misconduct Claims Fund created under the Plan. Until the filing of the Effective

Date Notice, to avoid the time and expense associated with the deposition of defendant Harvey

Weinstein currently noticed for the week of February 8, 2021, and so this Court is not mired in

discovery disputes that include Weinstein’s unwillingness to appear for deposition, Plaintiffs

respectfully request a 30-day stay of this matter.

                                           II.       FACTS

A.     The First Amended Complaint

       In their First Amended Complaint (“FAC”), Plaintiffs Louisette Geiss, Sarah Ann Thomas

(a/k/a Sarah Ann Masse), and Melissa Thompson alleged that Defendants, including Harvey

Weinstein engaged in a pattern of sexual abuse facilitated by TWC, and its officers and directors.

Dkt. #140. Defendants moved to dismiss the FAC, and on April 18, 2019, this Court granted

defendants’ motion in part as to these Plaintiffs, and in full as to the Miramax-era plaintiffs. Dkt.

#278. The only claims that remained were those brought by Plaintiffs against Harvey Weinstein

under the Trafficking Victim Protection Act (“TVPA”), 18 U.S.C. § 1595(a).

B.     The Schedule

       At the August 28, 2020 status conference, this Court set a discovery cut-off deadline of

December 4, 2020. Thereafter, based on a joint request by Plaintiffs and Harvey Weinstein, this

Court extended the discovery deadline to March 4, 2021. Dkt. #379.

       On August 18, 2020, Plaintiffs re-served their first set of document requests, and served a

first set of interrogatories and a second set of document request on Weinstein. Declaration of

Lynn A. Ellenberger (“Ellenberger Decl.”), ¶ 2. Weinstein responded with objections to each

request and produced just four emails. Thereafter, the parties engaged in a meet and confer

regarding Weinstein’s responses on November 4, 2020. Id. Notwithstanding this meet and

                                                 -2-
          Case 1:17-cv-09554-AKH Document 394 Filed 02/06/21 Page 3 of 9




confer and Plaintiffs demand that Weinstein produce documents pursuant to Plaintiffs’

outstanding document requests by February 5, 2021, Weinstein’s counsel refused to commit to

producing any documents. Ellenberger Decl., ¶ 3, Ex. 1.

        On January 11, 2021, Plaintiffs responded to discovery requests served by Weinstein and

produced more than 1,000 pages of documents on February 5, 2021. Id., ¶ 4. And while

Weinstein provided supplemental responses to Plaintiffs’ interrogatories and document requests

again objecting to nearly each request, he promised only that documents were forthcoming on a

thumb drive to be mailed to counsel’s office. Since Plaintiffs offices are closed, Plaintiffs have

requested a link to the documents to immediately review the documents. Id., ¶ 5.

        On January 29, 2021, Plaintiffs served a notice for Harvey Weinstein’s deposition, setting

the deposition for February 9, 2021 at his place of incarceration. Id., ¶ 6. Nearly a week later,

but five days before the planned deposition, Weinstein’s counsel advised that he was not

available on the chosen date. Id., Ex. 2. And despite this Court’s refusal to stay Weinstein’s

deposition, his counsel advised that he may nevertheless burden this Court with another motion

seeking relief from the deposition citing the same “plethora of serious medical conditions” this

Court recently found did not warrant a stay. Dkt. #388, p.4. In response, Plaintiff’s counsel

requested additional dates that same week when Weinstein’s counsel is available for the

deposition. Weinstein’s counsel has not responded. Ellenberger Decl., ¶ 6.

        Finally, Plaintiffs have issued thirteen subpoenas for depositions of non-parties, such as

Robert Weinstein. Those who have responded have either requested a deferral of their depositions

or their attorneys have refused to accept service notwithstanding their entry of appearance in this

litigation. Id., ¶ 7.




                                               -3-
         Case 1:17-cv-09554-AKH Document 394 Filed 02/06/21 Page 4 of 9




C.     Imminent Resolution of Plaintiffs’ Claims in the TWC Bankruptcy

       On January 25, 2021, the bankruptcy court held a hearing in In re: The Weinstein Company

Holdings LLC, No. 18-10601, and granted the Debtors’ motion to confirm the Plan. On January

26, 2021, the court signed the order approving the Plan. Id., Dkt. #3203. The Plan creates a fund

of over $17 million for TWC-era victims of Weinstein’s sexual abuse and misconduct (“Sexual

Misconduct Claims Fund”). Id., Dkt. #3203-1, § 5.4. At the hearing, Judge Walrath noted that 83

percent of the abuse survivors voted in favor of the Plan. Plaintiffs Geiss, Masse, and Thompson

will participate in the claims process under the Plan. Ellenberger Decl., ¶ 8.

       The January 26, 2021 Order Confirming Plan entered by Judge Walrath provides for a

Notice of Effective Date to be filed upon, inter alia, funding, at which time the Plan becomes

immediately effective. In re: The Weinstein Company Holdings LLC, No. 18-10601 (MFW)

(Bankr. D. Del.), Dkt. #3203, ¶¶ 10-14 and Ex. B.       Upon entry of that order, the Liquidation

Trustee will have the ability to dispose of the Liquidation Trust Assets in accordance with the

terms of the Plan. Id., ¶¶ 15-16. Upon the filing of the Effective Date Notice, which is expected

to occur within 14 days, Plaintiffs will voluntarily dismiss their claims in this Court. Thus,

Plaintiffs request a stay of this case for 30 days to allow the Plan to become effective and for the

resultant dismissal here.

                                      III.    ARGUMENT

       A.      This Court should exercise its inherent power and discretion to stay this case
               until entry of the Effective Date Notice, which notice will moot this lawsuit.

       Plaintiffs request that this Court stay all proceedings in this matter until the Liquidation

Trustee files the Effective Date Notice in the bankruptcy court, which is expected to occur within

14 days. This Court has the ability to stay proceedings as a matter of its discretion to control its

docket. Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 20, n.23 (1983)


                                               -4-
         Case 1:17-cv-09554-AKH Document 394 Filed 02/06/21 Page 5 of 9




(staying proceedings pending arbitration). In doing so, this Court must exercise its “studied

judgment,” weigh “competing interests[,] and maintain an even balance.” Louis Vuitton Malletier

S.A v. LY USA, Inc., 676 F.3d 83, 96-97, 99 (2d Cir. 2012). In deciding whether to grant a stay,

courts in the Second Circuit consider five factors:

               (1) the private interests of the [nonmovant] in proceeding
               expeditiously with the civil litigation as balanced against the
               prejudice to the [nonmovant] if delayed; (2) the private interests of
               and burden on the [movant]; (3) the interests of the courts; (4) the
               interests of persons not parties to the civil litigation; and (5) the
               public interest.

GOJO Indus., Inc. v. Innovative Biodefense, Inc., 407 F. Supp. 3d 356, 361-62 (S.D.N.Y. 2019)

(alterations in original) (citation omitted). All elements are readily satisfied.

       As to the first element, Harvey Weinstein is not interested in proceeding expeditiously.

Weinstein sought a stay and to prevent Plaintiffs from taking his deposition pending his criminal

proceedings. Dkt. #376. After this Court refused to stay Weinstein’s deposition (Dkt. #388),

Plaintiffs scheduled the deposition of Harvey Weinstein at this place of incarceration to occur the

week of February 8, 2021. Nonetheless, Harvey Weinstein’s lawyer said he was not available on

the noticed date and has refused to confirm an alternative date for his client’s deposition.

       Further, despite filing a motion to compel demanding an immediate document production

from Plaintiffs (see Dkt. #384), Weinstein produced four emails in response to Plaintiffs’

document requests plus the promise of forthcoming documents on a thumb drive to be mailed to

counsel’s office. Despite his one-sided discovery demands, Weinstein will not be prejudiced by

any stay of this case now because Plaintiffs have otherwise complied, and will continue to comply,

with their discovery obligations. Thus, Weinstein will not be prejudiced by a 30-day stay of this

case. Indeed, in the case of Noble v. Weinstein, et, al., Case No.17 Civ. 09260 (RWS) (S.D.N.Y.),




                                                 -5-
         Case 1:17-cv-09554-AKH Document 394 Filed 02/06/21 Page 6 of 9




Harvey Weinstein has agreed to a de facto stay of the proceedings, recognizing that the bankruptcy

proceedings for TWC could moot further proceedings in the district court. See Noble, Dkt. #136.

       The second element also supports a stay. The private interests of the Plaintiffs are to receive

a measure of justice through compensation for the abuse they suffered. Those interests are

furthered by having their claims considered in the private, confidential, and ordered process set up

by the Plan to disburse the Sexual Misconduct Claims Fund. The process provides an alternative

to the trauma that will be exacerbated by a public trial. Plaintiffs’ interests are not furthered by

the short-term filings of motions to compel and contentious discovery disputes that will be

necessary in the event the stay is not granted.

       As to the third element, a stay of this case will conserve judicial resources. As set out

above, Weinstein has refused to provide a date for his deposition, and has indicated that a second

motion to stay Weinstein’s deposition based on medical grounds may be forthcoming. A stay will

conserve the resources of the Court that will otherwise be spent on motions to compel that will

become moot in short order.

       The interests of non-parties also support the stay. Here, Plaintiffs have served subpoenas

for deposition on 13 non-parties, and intend to serve several more. Each of the proposed deponents

have either requested a deferral of their depositions and/or their attorneys have declined to accept

service (notwithstanding their prior appearances in this litigation). They clearly do not want the

litigation to proceed if it can be avoided through implementation of the Plan.

       Finally, as to the fifth element, the interests of the public will not be prejudiced by a stay.

Plaintiffs are prosecuting individual claims against Harvey Weinstein. The public interest has

already been served by the criminal conviction of Weinstein in New York (and pending criminal




                                                  -6-
         Case 1:17-cv-09554-AKH Document 394 Filed 02/06/21 Page 7 of 9




charges in Los Angeles). The public has no further interest in this case outside of Weinstein’s

notoriety. Thus, the public will not be impacted by a stay.

       Based on the foregoing, this Court should exercise its discretion and grant a stay pending

entry of the Effective Date Notice in the bankruptcy court and Plaintiffs’ dismissal of their claims

in this Court. See Cruz v. Dr. Barry Jordan, 80 F. Supp. 2d 109, (S.D.N.Y. 1999) (Hellerstein, J.)

(staying case pending exhaustion of administrative remedies).

                                      IV.     CONCLUSION

       Plaintiffs respectfully request that this Court grant this motion and enter a stay of further

proceedings in this matter for 30 days pending filing of the Effective Date Notice in In re: The

Weinstein Company Holdings LLC, No. 18-10601 (MFW) (Bankr. D. Del.), and dismissal of

Plaintiffs’ claims thereafter, and for this Court to grant such other relief as is just and appropriate.


Dated: February 6, 2021                        Respectfully submitted,

                                               By: /s/ Lynn A. Ellenberger
                                               Lynn A. Ellenberger
                                               FEGAN SCOTT LLC
                                               500 Grant Street, Suite 2900
                                               Pittsburgh, Pennsylvania 15219
                                               Tel: (412) 346-4104
                                               lynn@feganscott.com

                                               Elizabeth A. Fegan
                                               FEGAN SCOTT LLC
                                               150 S. Wacker Dr., 24th Floor
                                               Chicago, Illinois 60606
                                               Tel: (312) 741-1019
                                               beth@feganscott.com

                                               Steve W. Berman
                                               Shelby Smith
                                               HAGENS BERMAN SOBOL
                                               SHAPIRO LLP
                                               1301 Second Avenue, Suite 2000
                                               Seattle, Washington 98101


                                                 -7-
Case 1:17-cv-09554-AKH Document 394 Filed 02/06/21 Page 8 of 9




                            Tel: (206) 623-7292
                            steve@hbsslaw.com
                            shelby@hbsslaw.com

                            Whitney K. Siehl
                            HAGENS BERMAN SOBOL
                            SHAPIRO LLP
                            455 N. Cityfront Plaza Drive
                            Suite 2410
                            Chicago, Illinois 60611
                            Tel: (708) 628-4949
                            whitneys@hbsslaw.com

                            Nathaniel A. Tarnor
                            HAGENS BERMAN SOBOL
                            SHAPIRO LLP
                            555 Fifth Avenue
                            Suite 1700
                            New York, NY 10017
                            Tel: (646) 543-4992
                            Fax: (917) 210-3980
                            nathant@hbsslaw.com

                            Attorneys for Plaintiffs




                             -8-
        Case 1:17-cv-09554-AKH Document 394 Filed 02/06/21 Page 9 of 9




                                CERTIFICATE OF SERVICE

       I, Lynn A. Ellenberger, an attorney, affirm that the foregoing was filed on this day on

ECF, which automatically served all counsel of record.


Dated: February 6, 2021                             Respectfully submitted,

                                                    By: /s/ Lynn A. Ellenberger
                                                    Lynn A. Ellenberger
